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                 EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                           ECF CASE
 AUTHORS GUILD, et al.,

                         Plaintiffs,                       No. 1:23-cv-08292-SHS;
                                                           No. 1:23-cv-10211-SHS
        v.

 OPEN AI INC., et al.,                                     PLAINTIFFS’ SECOND SET OF
                                                           REQUESTS FOR PRODUCTION
                         Defendants.                       TO MICROSOFT
                                                           CORPORATION

 JONATHAN ALTER, et al.,

                         Plaintiffs,

        v.

 OPENAI, INC., et al.,

                         Defendants.


 PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION TO DEFENDANT

                                MICROSOFT CORPORATION

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs request that

Defendant Microsoft Corporation (“Microsoft”) respond to the following Second Set of Requests

for Production of Documents (“Requests”). Responses to these Requests shall be due within thirty

(30) days of the date of service or as otherwise mutually agreed by the parties. Plaintiffs are

amenable to an electronic production, subject to agreement by the parties.

       In accordance with Rule 34(b), Microsoft shall provide written responses to the following

Requests and shall produce the requested documents as they are kept in the ordinary and usual

course of business or shall organize and label the documents to correspond with the categories in
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these Requests. In accordance with Rule 26(e), Microsoft shall supplement or correct its responses

or productions as necessary.

I.       DEFINITIONS

         1.     “Actions” means the above captioned litigation, Authors Guild et al. v. Open AI

Inc. et al., No. 1:23-cv-08292-SHS (S.D.N.Y.) (opened Sept. 19, 2023 and amended December 5,

2023) (“Fiction Docket”), and Alter et al. v. OpenAI et al., No / 1:23-cv-10211-SHS (S.D.N.Y.)

(opened Nov. 21, 2023, and amended Dec. 19, 2023) (“Nonfiction Docket”).

         2.     “Class Works” pertains to both Fiction Class Works and Nonfiction Class Works

as defined in ⁋394 and in ⁋397 of the First Consolidated Complaint (Fiction Docket No. 69).

         3.     “Communication(s)” means the transmittal of information (in the form of facts,

ideas, inquiries or otherwise) by any means, including, but not limited to, telephone calls, emails

(whether via company server or personal webmail or similar accounts), faxes, text messages (on

work or personal phones), instant messages, Skype, Line, WhatsApp, WeChat, other electronic

messages, letters, notes, and voicemails.

         4.     “Document(s)” is defined to be synonymous in meaning and equal in scope to

the usage of the term “documents or electronically stored information” in Rule 34(a)(1)(A). For

the avoidance of doubt, Document(s) includes Communication(s).

         5.     “You”, “Your”, and “Microsoft” means Microsoft Corporation and any of its

directors, officers, employees, partners, members, representatives, agents (INCLUDING

attorneys, accountants, consultants, investment advisors or bankers), and any other person acting

or purporting to act on their behalf, as well as corporate parents, subsidiaries, affiliates, predecessor

entities, successor entities, divisions, departments, groups, acquired entities, related entities, or any

other entity acting or purporting to act on its behalf.
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        6.      “OpenAI” means OpenAI, Inc., OpenAI GP, LLC, OpenAI, LLC, OpenAI

OPCO LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI Holdings, and any of their

directors, officers, employees, partners, members, representatives, agents (including attorneys,

accountants, consultants, investment advisors or bankers), and any other person acting or

purporting to act on their behalf, as well as corporate parents, subsidiaries, affiliates, predecessor

entities, successor entities, divisions, departments, groups, acquired entities, related entities, or

any other entity acting or purporting to act on their behalf.

        7.      “Large Language Model,” “LLM,” “AI Model(s),” “Generative AI

system(s),” “model(s),” and “API Product(s)” have the same meaning as they are used in

OpenAI’s letter to the Register of Copyrights and Director of the U.S. Copyright Office dated

October 30, 2023, “Re: Notice of Inquiry and Request for Comment [Docket No. 2023-06]” and

include all models listed or described in https://platform.openai.com/docs/models.

        8.      “Person(s)” means any individual or entity.

        9.      “Fine Tune(d),” “Fine Tuning,” “Pre-Train(ed),” “Pre-Training,” “Train[ed],”

and “Training,” have the same meaning as the term is discussed in Your website materials and

statements. See e.g., https://platform.openai.com/docs/guides/fine-tuning (“OpenAI's text

generation models have been pre-trained on a vast amount of text. To use the models effectively,

we include instructions and sometimes several examples in a prompt. Using demonstrations to

show how to perform a task is often called "few-shot learning." Fine-tuning improves on few-shot

learning by training on many more examples than can fit in the prompt, letting you achieve better

results on a wide number of tasks. Once a model has been fine-tuned, you won't need to provide

as many examples in the prompt.”); https://openai.com/index/language-unsupervised/ (“These

results provide a convincing example that pairing supervised learning methods with unsupervised
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pre-training works very well; this is an idea that many have explored in the past, and we hope our

result motivates further research into applying this idea on larger and more diverse datasets.”); and

https://openai.com/index/how-should-ai-systems-behave/ (“The two main steps involved in

building ChatGPT work as follows . . . First, we “pre-train” models by having them predict what

comes next in a big dataset . . . Then, we “fine-tune” these models on a more narrow dataset that

we carefully generate with human reviewers who follow guidelines that we provide them.”);

https://openai.com/index/gpt-4-research/ (“Interestingly, the base pre-trained model is highly

calibrated . . . Note that the model’s capabilities seem to come primarily from the pre-training

process . . . ”); https://openai.com/index/text-and-code-embeddings-by-contrastive-pre-training/

(“In this work, we show that contrastive pre-training on unsupervised data at scale leads to high

quality vector representations of text and code.”); https://openai.com/index/vpt/ (“We trained a

neural network to play Minecraft by Video PreTraining (VPT) on a massive unlabeled video

dataset of human Minecraft play, while using only a small amount of labeled contractor data. With

fine-tuning, our model can learn to craft diamond tools . . .”).

       10.     “ChatGPT” means all consumer-facing versions of the chatbot application

OpenAI released in November 2022 (and discussed in paragraphs 83-95 of the Fist Consolidated

Complaint (Fiction Docket No. 69)) and any LLM underlying those consumer-facing applications.

       11.     “Concern” means be the subject of, make reference to, comment on, discuss,

describe, identify, or contain text or images about the stated topic.

       12.     “Including” means including but not limited to.

       13.     “Investors” means any person or entity that financially invested in the operations

and/or entitie(s) controlled and/or overseen by one or more of the OpenAI defendant entities.
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        14.    “Relate to” means refer to, respond to, describe, evidence, or constitute, in whole

or in part.

        15.    “Publishers” means a person or entity whose business is publishing materials,

including, but not limited to, books, periodicals, magazines, and newspapers.

        16.    “Training Material” means any data (e.g. text) obtained for or used to train a Large

Language Model.

II.     RELEVANT TIME PERIOD

        The relevant time period is January 1, 2015 through the present (“Relevant Time Period”),

unless otherwise specifically indicated, and shall include all Documents and any other information

relating to such period, even though prepared or published outside of the Relevant Time Period. If

a Document prepared before the Relevant Time Period is necessary for a correct or complete

understanding of any Document covered by any of these Requests, please provide the earlier

Document as well. If any Document is undated and the date of its preparation cannot be

determined, please produce the Document if it is otherwise responsive to any Request.

III.    INSTRUCTIONS

        1.     The production by one person, party, or entity of a Document does not relieve

another person, party, or entity from the obligation to produce his, her, or its own copy of that

Document.

        2.     Produce Documents not otherwise responsive to these Requests if such Documents

relate to the Documents that are called for by these Requests, or if such Documents are attached to

Documents called for by these Requests.

        3.     Produce each Document requested herein in its entirety and without deletion,

excisions, redaction, or other modification regardless of whether YOU consider the entire

document to be relevant or responsive.
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       4.      If any Document is known to have existed but no longer exists, has been destroyed,

or is otherwise unavailable, identify the Document, the reason for its loss, destruction, or

unavailability, the name of each person known or reasonably believed by Microsoft to have had

possession, custody, or control of the original and any copy thereof (if applicable), and a

description of the disposition of each copy of the Document.

       5.      If no Documents responsive to a particular Request exist, state that no responsive

Documents exist.

       6.      If You assert that any of the Documents and things requested are protected from

discovery by attorney-client privilege, the attorney work product doctrine, or any other evidentiary

privilege, specify for each Document (1) the grounds asserted as the reason for non-production;

(2) the date the Document was prepared; (3) the identity of the attorney(s) who drafted or received

the Document(s) (if attorney-client privilege or attorney work product protection is claimed); (4)

the identity of the parties who prepared or received the Document; and (5) the nature of the

Document.

       7.      Construe the conjunctions “and” and “or” non-restrictively or non-exclusively if

doing so would bring within the scope of these Requests Documents that might otherwise be

construed to be outside of their scope.

       8.      Construe the use of the singular to include the plural; the use of the masculine,

feminine, or neuter gender to include the others; and the use of one form of the verb to include the

others if doing so would bring within the scope of these Requests Documents that might otherwise

be construed to be outside of their scope.
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       Plaintiffs, by and through their undersigned attorneys, request that Defendants provide a

response to these Requests within thirty (30) days of the date of service hereof as provided by

Federal Rule of Civil Procedure 33.

                             REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 41:

       Documents sufficient to identify all datasets containing commercial works of fiction

and/or nonfiction, including Class Works, that You or OpenAI accessed, downloaded or copied to

train Large Language Models.

REQUEST FOR PRODUCTION NO. 42:

       Documents Concerning or Relating to any complaints You have received regarding Your

or OpenAI’s use of potentially copyrighted material in training Large Language Models.

REQUEST FOR PRODUCTION NO. 43:

       Documents Concerning or Relating to Your policies or procedures Relating to receiving,

processing, or responding to complaints regarding Your or OpenAI’s use of potentially

copyrighted material in training Large Language Models.

REQUEST FOR PRODUCTION NO. 44:

       Documents sufficient to identify any effort by You or OpenAI to remedy or mitigate Your

or OpenAI’s unauthorized use of copyrighted material to train any Large Language Models.

REQUEST FOR PRODUCTION NO. 45:

       All Communications between January 1, 2016 and December 31, 2022, related to the use

or reproduction of copyrighted materials to train any artificial intelligence model OpenAI

developed, including without limitation all Large Language Models and diffusion models (e.g.,

DALL-E, Codex, GPT-2).
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REQUEST FOR PRODUCTION NO. 46:

       Documents sufficient to show all attempts by You or OpenAI to obtain a license for the

use of text or audio works in connection with the development of any Large Language Model(s),

including but not limited to Documents reflecting any negotiations of such licenses.

REQUEST FOR PRODUCTION NO. 47:

       All Documents Concerning or Relating to Your decision(s) to seek or obtain a license to

use any copyrighted material as Training Material.

REQUEST FOR PRODUCTION NO. 48:

       All Documents Concerning or Relating to the relative value of different types of

Training Material.

REQUEST FOR PRODUCTION NO. 49:

       All Documents concerning or relating to OpenAI deriving Training Material from any

physical books or audiobooks.

REQUEST FOR PRODUCTION NO. 50:

       All Documents Concerning or Relating to OpenAI’s use of digital books as Training

Material.

REQUEST FOR PRODUCTION NO. 51:

       Documents sufficient to show any reproduction of the data OpenAI used to train any

Large Language Model, including any reproductions that came into Microsoft’s possession.

REQUEST FOR PRODUCTION NO. 52:

       All Documents and Communications Concerning or Relating to the use or contemplated

use of material from any text data repository (e.g. Library Genesis, Internet Archive, Z-Library,
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Common Crawl, WebText, Project Gutenberg, Anna’s Archive, Open Library, Reddit, DuXiu) as

Training Material.

REQUEST FOR PRODUCTION NO. 53:

       All Documents Concerning or Relating to OpenAI’s potential exhaustion of available

text data for use as Training Material.

REQUEST FOR PRODUCTION NO. 54:

       Documents sufficient to show when You became aware of each dataset used to train

OpenAI’s Large Language Models, including but not limited to, all Documents Concerning

and Relating to the “writeup of OpenAI's technical results on large language models” OpenAI

sent to You in February 2020 that “include[d] details on training methods, datasets, etc to facilitate

comparisons and collaboration.” (MSFT_AICPY_000228653).

REQUEST FOR PRODUCTION NO. 55:

       All Documents Concerning or Relating to the relative value of different types of text data

in training Large Language Models.

REQUEST FOR PRODUCTION NO. 56:

       All Documents Concerning or Relating to any programming of any Large Language

Models developed by OpenAI designed or intended—in whole or in part—to avoid copyright

infringement and/or to avoid reproducing materials used to train the Large Language Models or

ChatGPT.

REQUEST FOR PRODUCTION NO. 57:

       All Documents Concerning or Relating to the impact that including or excluding human-

generated text from a Large Language Model’s training data has on the quality of its outputs.
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REQUEST FOR PRODUCTION NO. 58:

         Documents sufficient to show any exclusive or non-exclusive rights granted to You by

OpenAI to commercialize, monetize, or productize OpenAI’s Large Language Models, training

data, or intellectual property.

REQUEST FOR PRODUCTION NO. 59:

         Documents sufficient to identify all of Your commercial products that use or include any

Large Language Model developed by OpenAI , including but not limited to, Your Bing search

engine (as set forth in the First Consolidated Complaint [Fiction Docket No. 69] at ⁋166) as well

as Microsoft Teams, Microsoft 365 Copilot and GitHub Copilot (id. at ⁋167).

REQUEST FOR PRODUCTION NO. 60:

         Documents sufficient to identify each person within Microsoft who participated, was

involved in or was consulted Concerning the use, implementation or incorporation of ChatGPT

or Large Language Models in Your commercial products.

REQUEST FOR PRODUCTION NO. 61:

         All Documents Concerning or Relating to customers substituting away from or towards

a Microsoft product using a Large Language Model based on the quality of the Large Language

Model.

REQUEST FOR PRODUCTION NO. 62:

         Documents sufficient to identify Your gross revenues, net revenues, and profits, by month,

from Your commercial products that include or use ChatGPT or Large Language Models.
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REQUEST FOR PRODUCTION NO. 63:

       Documents sufficient to show the gross revenues, net revenues, and profits, by month,

generated by each Large Language Model You have commercialized, sold, and/or licensed, either

as a standalone product or as part of another product.

REQUEST FOR PRODUCTION NO. 64:

       Document sufficient to show Your balance sheet, income statement, and cash flow

statement, on a monthly basis during the relevant time period.

REQUEST FOR PRODUCTION NO. 65:

       All Documents Concerning or Relating to predictions, forecasts, or projections of profits,

revenues or cash flows of OpenAI or from Large Language Models or products using or

containing Large Language Models.

REQUEST FOR PRODUCTION NO. 66:

       All presentations, memoranda, or other Documents provided to Your Board of Directors

Concerning or Relating to OpenAI’s development of Large Language Models.

REQUEST FOR PRODUCTION NO. 67:

       Documents sufficient to show each version of the terms and/or conditions of use of Your

products that use or include ChatGPT or Large Language Models.

REQUEST FOR PRODUCTION NO. 68:

       Retention agreements You entered from January 1, 2016 to the present, with any law firm(s)

for actual or potential copyright litigation Related to Your investment in and/or partnership with

OpenAI.
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REQUEST FOR PRODUCTION NO. 69:

       Documents sufficient to show all indemnification provisions agreed to by and between

You and OpenAI.

REQUEST FOR PRODUCTION NO. 70:

       All Documents Concerning or Relating to whether OpenAI’s use of copyrighted

material as Training Material complies with copyright law in the United States or elsewhere.

REQUEST FOR PRODUCTION NO. 71:

       All Documents You received from OpenAI in the course of Your due diligence regarding

each of Your investments in OpenAI.

REQUEST FOR PRODUCTION NO. 72:

       Documents and Communications Concerning or Relating to Your decision to modify

Your normal due diligence process for the purposes of Your investment in OpenAI.

REQUEST FOR PRODUCTION NO. 73:

       Documents sufficient to identify all data that was shared among You and OpenAI in the

course of Your partnership with OpenAI, including but not limited to data shared pursuant to the

terms of the Joint Development and Collaboration Agreement (the “JDCA”) (initial JDCA

produced at MSFT_AICPY_000000345) since June 2019.

REQUEST FOR PRODUCTION NO. 74:

       Documents sufficient to identify each of Your employees who at any point had access to

“Restricted Access Model Training Code” pursuant to Section 3(e) of the Second Amended and

Restated JDCA (the “Second Amended JDCA”) (MSFT_AICPY_000000575).
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REQUEST FOR PRODUCTION NO. 75:

       Documents sufficient to identify any “secure repository” You identified to OpenAI

pursuant to Section 3(e)(iv) the Amended and Restated JDCA (MSFT_AICPY_000004210).

REQUEST FOR PRODUCTION NO. 76:

       Documents sufficient to identify all individuals involved in copying the “Development

Materials”—as defined in the Second Amended JDCA—for storage in Your secure repository, as

set forth in Section 3(h)(iv) the Second Amended JDCA.

REQUEST FOR PRODUCTION NO. 77:

       All Documents Concerning or Relating to the Data Working Group, as referenced in the

Second Amended JDCA, including but not limited to all Communications among members of,

meeting minutes of, and data policies compiled by the Data Working Group.

REQUEST FOR PRODUCTION NO. 78:

       All Documents created in the course of the Governing Board’s—as referenced in the

Second Amended JDCA—duties, including but not limited to meeting minutes, memorandum and

Communications.
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Dated: August 14, 2024   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I hereby certify that on August 14, 2024, a copy of the foregoing was served via electronic

mail to all counsel of record in this matter.


                                                     /s/ Ariana Delucchi
                                                     (Signature)




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